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                        IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF UTAH, CENTRAL DIVISION


  KATE GRANT, and KARMANN KASTEN,
  LLC                                                 DEFENDANT SPENCER TAYLOR’S
                                                     SHORT FORM DISCOVERY MOTION
         Plaintiffs,                                      TO STAY DEPOSITION
  v.
                                                           Case No. 2:23-CV-00936-DAO
  KEVIN LONG; MILLCREEK
  COMMERCIAL PROPERTIES, LLC;                                District Judge David Barlow
  COLLIERS INTERNATIONAL; BRENT
  SMITH; SPENCER TAYLOR; BLAKE                           Magistrate Judge Daphne A. Oberg
  MCDOUGAL; and MARY STREET,

         Defendants.


        Defendant Spencer Taylor seeks a protective order pursuant to DUCivR 30-1(d) and 37-1

 to prevent him from having to sit for three separate depositions in three separate matters currently

 pending before the Court that involve common questions of law and fact, even while a fully briefed

 Joint Motion to Consolidate Related Cases (Doc. 56) is pending before the Court in Patti Klair v.

 Kevin Long, et. al., Case No. 2:23-cv-407.
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        Taylor is currently a named defendant in three separate lawsuits in the United States

 District Court for the District of Utah, including Chris Wilson v. Kevin Long, et. al., Case No.

 2:23-cv-599-HCN-JCB; Patti Klair v. Kevin Long, et. al., Case No. 2:23-cv-407 (the “Klair

 Case”); and the above-captioned matter, Kate Grant v. Kevin Long, et. al., Case No. 2:23-cv-936-

 DAO (collectively, the “Millcreek Cases”). Each of the Millcreek Cases were filed in a period of

 approximately 7 months, and many of the allegations across all three cases are word-for-word

 identical. On April 29, 2024, Taylor joined certain other defendants in filing a Joint Motion to

 Consolidate (the “Motion”) in the Klair Case. See Docket No. 57. Other parties to the Motion

 include Kevin Long, Millcreek Commercial, LLC, Colliers International, Andrew Bell, Trevor

 Weber, Blake McDougal, Scott Rutherford, Equity Summit Group, and Elevated 1031

 (collectively, the “Motion Defendants”). The Motion is currently pending before the Court in the

 Klair Case.

        Fact discovery in this case concludes on January 10, 2025. Counsel for Plaintiff

 nevertheless has pushed forward with discovery in this case, including by issuing multiple sets of

 discovery requests and demanding deposition dates (while discovery in the other Millcreek Cases

 has not progressed). In the meantime, Taylor has responded to written discovery requests in good

 faith. However, on July 10, 2024, counsel for Motion Defendants provided written notice that they

 would object to scheduling depositions until the Motion has been resolved. As explained by

 Motion Defendants’ counsel, proceeding with depositions would undermine one of the goals and

 purposes of the Motion—to prevent unnecessary, significant, and duplicative costs. In response,

 Plaintiff’s counsel refused to wait until the Motion to Consolidate has been resolved and sent a

 deposition notice to Taylor for August 13, 2024.

        There is ample time in the current Scheduling Order to allow the Court to rule on the

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 pending Motion and for Plaintiff to complete Taylor’s deposition. Plaintiff chose to file her case

 separately from other then-pending Millcreek cases while, at the same time, simply copying many

 of the allegations from those cases into her own Complaint. As a result, Plaintiff’s claims

 extensively overlap with the claims asserted by the plaintiffs in the other Millcreek Cases, thereby

 making her claims largely co-extensive. Taylor should not be unfairly prejudiced by Plaintiff’s

 tactical decisions to benefit herself.

                                           CERTIFICATION

         The parties made reasonable efforts to resolve this discovery dispute through written

 correspondence as detailed above and a telephonic conference on July 16, 2024, involving Steven

 Christiansen on behalf of Plaintiff and Nathan Jepson on behalf of Taylor.

         DATED this 22nd day of July 2024.

                                               RAY QUINNEY & NEBEKER P.C.


                                               /s/Nathan L. Jepson
                                               Justin T. Toth
                                               Maria E. Windham
                                               Nathan L. Jepson

                                               Attorneys for Defendant Spencer Taylor




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                                 CERTIFICATE OF SERVICE

        I hereby certify on this 22nd day of July 2024, I caused a true and correct copy of the

 foregoing DEFENDANT SPENCER TAYLOR’S SHORT FORM DISCOVERY MOTION

 TO STAY DEPOSITION to be filed via the Court’s electronic filing system, which automatically

 provides notice to counsel of record.


                                                       /s/ TerriAnne Gillis




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